     Case 20-11157      Doc 48    Filed 06/23/20 Entered 06/23/20 18:44:35         Desc Main
                                    Document     Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

  In re:
  LEGACY GLOBAL SPORTS, L.P.,                     Ch. 7
    Debtor                                        20-11157-JEB


               Order re: #40 Motion filed by Debtor Legacy Global Sports, L.P.
                To File Portions of Schedules and Creditor Matrix Under Seal

The Court will hold a telephonic hearing on the Debtors' Motion to File Portions of Schedules and
Creditor Matrix under Seal (the "Motion") on June 26, 2020 at 10:30 a.m.

Because of the concerns about COVID-19, all participants, including attorneys, the Debtor(s),
witnesses, affiants, and other attendees shall appear by telephone, and may not appear in person.
To appear telephonically, attendees shall, 10 minutes before the appointed time of hearing, dial (877)
336-1839 and enter access code 1378281#.

The Debtor shall give notice of the Motion and hearing by (i) serving copies of the Motion and this
order on the Chapter 7 Trustee, the United States Trustee, and all parties having filed an
appearance, by electronic mail or other method designed to provide immediate notice, or (ii)
giving telephonic notice of the hearing date and the contents of the Motion followed by service of
copies of the Motion and this Order by first class mail, postage prepaid. The Debtor shall file a
certificate of such service by June 24, 2020.

                                                  By the Court,




                                                  Janet E. Bostwick
                                                  United States Bankruptcy Judge

                                                  Dated: 6/23/2020
